EXHIBIT A
a2) United States Patent
Bruhoke et al.

 

(34) DRY WALL EXTRUSION GRILLE

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& Weise
G7) ABSTRACT
A dy wall extrusion grills comprising a frame, a liner bar
tile, sheet rock screws, pré-perforated throngh holes,
indented slots, and a flexible edge.

23 Claims, 4 Drawing Sheets

 

 

 

 

 

 

 

 

 

 

 
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DRY WALL EXTRUSION GRILLE

FIELD OF THE INVENTION

The present invetilion relates to a dry wall extrusion gritle
comprising a frame, a liner bar grille, sheet rock scrows,
pre-perforated through holes, indented slots, and a flexible
edge.

BACKGROUND OF THE INVENTION

US, Pat. No. 5,082,089 relaies to a structure wall
mounted speaker assembly, The wooler of the spoakar is
snounted in the assembly wail [rame und the byeeter is both,
mounted in and self-contained within the assembly wall
frame. The installation requires only that a circular opaning
be cut in the wall to enable the rear portion of the wooter fo
extend through the dry wall or sheetrock and two simple
holes drilled in the wall te accommodate the support bolts to
retain the wall mounted speaker assembly on the wall.

US, Pat. No, 7,140,960 relates to duet systems, roaster:
and ductwork components used with floor or ceiling regis-
ters employed in warm air heating, ventilating and air
conditioning systems, and improvements for mounting and
insialiing components of the duct system, including register
boots, raud rings and register grilles, in the walls, Hoors or
ceilings of buildings componcnis, owd ring, register grille
and wall, door or eolling opening, which reduces costs,

U.S. Pat. No. 7,771,259 relates to a flush mounted frame
for an aceesg panel or register, The frame is mounted ta a
wall, ceiling ur floor surface, ig made by joining linear frame
sections each providing interconnected elements formed by
an exiruyion process. A first planar element is spaced apart
from a second planar element and positioned for abutting a

vomunon surface, A first chanuel element is formed between -

ihe frst and second planar elemenis, A third plenary element
is positioned normal to the first and second planar elements
and terminates with a rib directed ioward the first planar
gloment, When niguited onto studs in a building struct,
wall putty or mud may be placed into a space between the

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wall panels and the third pianar clement, the mud is captared

in place forming a smooth interface between the frame
assembly and (he surrounding wall surfaces,

SUMMARY OF THE INVENTION

‘The present invention relates to a dry wall extrusion grille.

‘The dry wall extrusion grille comprines a frame, a liver
bar grille, sheet rock screws, peo-pectorated through holes,
indented slots, a flexible edge.

Tt is an object of the present invertion for the indented
slots to capture faint compound or plasier,

Ths an object of the provent invention for the flexible edge
fo be used for fastening to a well or ceiling with pre-
perforated through holes,

Tt is an object ofthe present invention for a common shwet
rack screw to be threaded into the wall material,

Itis an abject of the present invention for the frame to be
constructed of four mitered pieces. Tt i¢ an object of the
present inversion for the four mitered pieces to be welded
together.

itis an object of the present investion for the frame to be
installed with a sheet rock acrew before plaster or a joint
compound is applied.

it is an object of the present jovention for the dry wall
exltusion grille to be installed to a wall with four sheet rock
screws.

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it ts at object of the present invention for the extrusion .

grille to have pre-perforated mounting through holes pro-
viding many mounting optlons to address multiple field
conditions,

lt is an object of the present invention for the extrusion
goile to be a fully welded construction that provides excep-
tonal strength for mouating in both walls and ceilings

Tt is an object of the present invention for the extmsion
gulle ts have multiple, pre-punched mounting holes for
fastening in, ¢ wide range of wall canditious and materials

It is an object of the present invention for the extrusion
gtille to have noultiple, pre-punched mounting Boles for
attachment to underlying stads (support beams) for a wide
vange of center to centers,

lt is an object of the present Invention for the extrusion
grille ta have pre-punched holes accurately sized dor stan-
dard wail bourd/sheot rock screws so to apecial hardware ar
tools are required,

Tl is an object of the present iavention for the extrusion
grille to have multiple indented slots slong the mounting
flange to provide capture points for joint compoud ar
plaster.

Il is un object of the present for the exiruvion gulle to
comprise flexible mounting flange that fasten the grille to
uneven wall stwiaces.

Tris an object of the present invention for the inside of the
extrusion grille frame to extend 44" deep into the opening so
that the extrusion prille is installed in 4 wail boaed or plaster
yanging from about /A" thi about 74" thick.

Tt is an ebject of the present Invention for the extrusion
grille to allow an installer te out a very rough hole in a wall
and slip the extrusion grille frame indo the opening. With the
design of the present invention there is no routing or

recessed cut that is necessary. With the design of the present ,

invention there is no biccking or added wood necessary for
aitachinent to wall.

Ttis an object of the present invention fox ike extrusion
gtilie to provide exceptional strength using aluminum mate-
visl—thus enabling safe use in ceiling applications,

Tt is an abject of the present invention for the extrusion
grille to be used with a Gxed core (ore welded directly to
the frame or removable core for necess to either controls or
filtration behind the prille).

It is an object of the present invention for the extrusion
giille to be used specifiently for Hnear bar grilles, and not
awed with porforated grilles or registers.

Tt Js an object of the present invention for the extrusion
grille to he mounted, so that the entire frame and grille are
flosh to the wall providing a seamless installation-~which
makes fleld painting much easier—also makes future clean-
ing of the grille simpler as can be done with simply the wipe

5 of a rag

It is an object of the present luvention for the extrusion
grille to be mocuted in only one way, so that it cannot be
installed backward, ,

Tt is an object of the present davention for ihe extrusion
gtille to require four pieces for construction, providing faster
assembly and jower cost.

It is an object of the present invention for the extrsion
grille io have a special angled edge that provides a step for
a slandard spavkle knite to rest when a plaster or joint
compound. is being applied. Thig craptes a crisp, clean line
set up for the application of the final skim coat of plaster
Goint compound),

 
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BRIEF DESCRIPTION OF DRAWINGS

FIG. Lisa fop view of the frame of the present invention,

FIG. 2 Is a botlom view of the frame of the present.
arvention.

PIG, 3 is slde view of the flexible edge
invention,

PIG, 4 is a cross sectional view of the extrusion grille of
the present invention, ;

FIG, 5 is a front view of the extrusion grille of the present
invention.

FIG. éig a front view of the oxtruston arifle ofthe prevent
jeventlon,

of the present

DETAILED DESCRIPTION OF THE
INVENTION

FIG: 1 shows the frame 10 comprising fear mitered pieces
12, 14, 16 and 18, whieh are walded at 20, 22, 24, and 26.
FIG, 2 shows the botiom view of fame 10 of FIG. 1.

TIGS, 3 and 4 show the extrusion grille 36, which
comprises a (near bar grille 32. The extrasion grille 30 has
un aluminian profile 34, a flexible mounting flange 34 that
is used for fastening to a wall or ceiling wtth perforated.
through holes 40, The oxtresion grifle 3@ further comprises
indented slots 38 used to capture joint corapound or plaster
Ad,

Bxtrasion grille 30 further comprises a special angled
edge 44 to create a step for a spackling knife to use as a
sitaight edge, A common sheet rock screw 46 is threaded
into the wall material.

FIG, 5 shows the extrusion grille 30 having the linear bar
grille, a standard sheet rock screw 46, and pre-gerfbrated
mounting through holes that provide many mouiting
options to address muitiple field conditions.

FIG, 6 shows the extrusion grills 36 installed after the
plaster or jolt compound is applied. The frame 10 is
installed with the sheet rock screw 46 before plaster of joint
compound is applied,

The invention claimed is:

1. Adry wali extrosion grille comprising:

a frame,

a tinear bar grille located in said frame comprised of vanes

and cross members that direct a flow of alt,
pre-perforated through holes,
' indented siots, and
a flexible mounting flange located between # fop and
bottom edge of the frame and extending ovtwardly
from said fume;
said indenied slots defined. ag small recesses in paid
flexible mounting fange that receive plaster, joint com-
pound or mud, said pie-perforated through holes
located in the flexible mounting flange.

2. The extrusion grille of claim 1 wherein said flexible
mounting flange is fastened to a wali or ceiling with said
pre-perforated through holes,

4, The extrosion grille of claim 1 further comprising sheet
rook screws,

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4, The extrusion grille of claim 4 wherela said frame is
installed with said sheet rock serew before plaster or a joint
compound is epplied,

5. The extrusion grille of claim 4 wherein said extrusion
gtille is installed to a wall with four sheet rock screws.

6, The extrusion grifle of claim 1 wherein said frame is
constructed of four mitered pieces welded together.

7. The extrusion grille of claim 1 wherein said pre-
perforated moniting through holes provide multiple mount-
ing options to address multiple field conditions,

8. The extrusion grille of elaim 1 wherein said extrusion
grille is a fully welded construction.

9, The extrusion prille of claim 1 wherein said oxtusion
grille comprises niultigie, pre-punched mounting holes far
dastening in a wide range of wall conditls and materials.

10, The extrusion giille of clalm 4 wherein said extrusion
grille comprises nuutltiple, pre-punched mounting heles for
attachment fo underlying studs (support beams).

41, The extrusion guile of claim 1 wherein said extrusion
grille campeises pre-punched holes accurately sized for
slandard wall board/sheet rock screws so no special hard-
ware or tools are required.

12. The extrusion prifle of clalm 1 whereln said flexible
mounting flange fastens said extrusion pritle to uneven wall
surfaces,

13. ‘Lhe extrusion grille of claim 1 wherein inside of said
extrusion grille frame extends about 44" deep into opening
aa that said extrusion grille is installed in a wall board or
plagler ranging from about 44" thru aboul 4" (hick,

14, The extrusion prifie of claim f wherein said cxtrusion
grille allows an installer to cut a rough hele in a wall and slip
said extrusion grille frame into said hole.

18. The extrusion grille of claim 1 wherein no routing or
recessed Uni ig necessary,

‘46, The extrusion grille of claim 1 wherein there is no
blocking or added wood necessary for attachment to wall.

47, The extrusion grille of claim 1 wherein said extrusion
grille is comprined of aluminum material,

48. The extrusion grille of claina 1 wherein said extrusion
grille is used with a fixed core, a core welded direetly to said
frame or removable oore for aceeas to controls or filtration
behind sald gpiile. .

19, The extrasion grille of claim 1 wherein said extrusion
grilio is mounted, so that said entire frame and grille are
flash 10 a wall providing, 2 seamless installation,

20, The extrusion grille of claim 1 wherein suid extrusion
grille is mouated in only one way, so that it cannot be
installed backward,

21. The extrusion arille of claim 1 wherein said oxtrusion
grilic has a special anpled edge that provides a step for a
staddard spuckle knife to rest when a plaster or joint com-
pound is being applied,

22. The extrugion grille of claim 1 wherein said extrusion
grille has a special angled edge that provide a crisp, clean
line set up for application of final skim coat of plaster (joint
eompound).

23. The exirusion grille of claim 1 wherein said extrusion
grille is fush mounted to e wall without requiring a stud,

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